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                          IJNITED STATESblsTm c'rcotiR'
                                                      r
                          SOIJTHERN DlsTklc'roFFLORIDA
                              CA SE NO .16-20345-C R-M 0 0 %

   UNITED STATES O F AM ERICA

   VS.

   JEFFREY JA SO N CO O PER,
        a/k/a %6D r.Janardana Dasa,''
        a/k/a çtlanardana,''
        a/k/a Sslay ''

                D efendant.
                                           /

                                        VER/I
                                           ;
                                             CT
         W e,theJury,inthiscase,unanimously tlndasfollows:


         CO UNT O NE

         A sto Countl ofthe Indictm ent,we find i
                                                defendantJEFFREY JASON COO PER :

         Gulu'
             rv h              xoTGulu'
                                      rv
         CO UNT TW O

         A sto Count2 ofthe lndictm ent,we Gndy
                                              defendantJEFFREY JASON COO PER:

         oulu'
             rv X              xoTciulu'
                                       rv

         CO U NT TH REE

         As to Count3 ofthe lndictm ent,w e find defendantJEFFREY JA SON COOPER:

         G UILTY      n        N OT GU ILTY
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         CO U NT FO U R

         Asto Count4 ofthe Indictm ent,w e find defendantJEFFREY JA SON COOPER:

         Gulu'rv X             xoTGulu'rv


         CO U NT FIVE

         A sto Count5 ofthe lndictm ent,w e fsnd defendantJEFFREY JA SON COOPER:

         Gulu'rv X             xovclulu'rv
          Ifyoufound Defendantguilty,please markone ormore of the immediatelyfollowing
   spaces,indicating thealienls)whichyou havebtnanimouslyfound thattheDefendantimported
   into the United Statesfor immoralpurposes. Jf-m z/found the Defendantnotguilty please
   proceedwithoutmarkinganyoftheimmediatelyfollowingspaces.
                  A          victim 1,thatis,A.o.
                  X          victim 2,thatis,z.R.


         CO UNT SIX

         A sto Count6 ofthe lndictm ent,we find defendantJEFFREY JA SON COO PER:



          Ifyoufound Defendantguilty please mark one ormore of the l'  mmediatelyfollowing
   spaces,indicating thealienls)whichyouhaveunanimouslyfoundthattheDejèndantattempted
   to importinto the United Statesforimmoralpltrposes. IfyoufoundtheDefendantnotguilty
   pleaseproceedwithoutmarkinganyoftheimmeï    diatelyfollowingspaces.
                   y         victim 3 thatis D.K.
                                     ,

                   K         victim 4, thatis B.A .
                   X         victim 5,thatisx.M .
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        CO UNT SEVEN

        Asto Count7 ofthe lndictm ent,we find defendantJEFFREY JASON COO PER :
        G           V
          U ILTY   n        N OT G UILTY




        CO UNT EIG H T

        A sto Count8 ofthe Indictm ent,we find defendantJEFFREY JA SON COO PER:

        Gull-'rv      %     xoTGuluvv



        C O UNT NIN E

        A sto Count9 ofthe lndictm ent,w e find defendantJEFFREY JA SON COOPER:

        Gulu'rv &           xoTGulu'rv



        CO U NT TEN

        Asto Count10 oftheIndictment,wefinddefendantJEFFREY JASON COOPER:
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         CO UNT ELEVEN

         AstoCountllofthelndictment,wefind defendantJEFFREY JASON COOPER:
         GUILTY Y           NOTGUILTY
   SO SAY W E ALL.
        SignedanddatedattheUnitedStatesCourthouse M iam i,Florida,this l'
                                                   ,
                                                                        N   day of
        N x em f9f'
                  J- ,2016.




   Foreperson's lgnature                     Foreperson's Printed N am e
